                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                             EASTERN DIVISION
                              NO. 4:20-CV-18-FL

UNITED STATES OF AMERICA,                )
                                         )
                     Plaintiff,          )
                                         )
               v.                        )      CONSENT JUDGMENT AND
                                         )      PERMANENT INJUNCTION
FARMVILLE DISCOUNT DRUG,                 )
INC. and ROBERT L. CROCKER,              )
                                         )
                     Defendants.         )


      Plaintiff, the United States of America, has filed a Complaint for Permanent

Injunction and Civil Penalties (the “Complaint”) under the Controlled Substances

Act, 21 U.S.C. § 801 et seq., against Defendants Farmville Discount Drug, Inc., and

Robert L. Crocker. [D.E. 1.] Plaintiff and Defendants (the “Parties”) stipulate to the

entry of this Consent Judgment and Permanent Injunction (“Order”) to resolve the

claims alleged in the Complaint.       The Parties have informed the Court of the

following:

                                       PARTIES

      1.       Plaintiff is the United States of America.

      2.       Defendant Farmville Discount Drug, Inc. (“FARMVILLE DISCOUNT

DRUG”) is a corporation organized under the laws of North Carolina, with its

principal place of business at 3708 North Main Street, Farmville, North Carolina

27828-1499. FARMVILLE DISCOUNT DRUG was assigned registration number




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AF6883222 by the U.S. Drug Enforcement Administration (“DEA”) for dispensing

controlled substances in the course of pharmacy practice.

      3.     Defendant Robert L. Crocker (“CROCKER”) is a resident of the Eastern

District of North Carolina. At all times relevant to the Complaint, CROCKER was a

pharmacist duly licensed by the North Carolina Board of Pharmacy. CROCKER is

the owner of FARMVILLE DISCOUNT DRUG and, during all times relevant to the

Complaint, was the pharmacist-in-charge and responsible for the active management

of FARMVILLE DISCOUNT DRUG’s retail pharmacy business, including the filling

of prescriptions for controlled substances.

                          JURISDICTION AND VENUE

      4.     This Court has subject-matter jurisdiction over this action pursuant to

21 U.S.C. §§ 842(c)(1)(A), 843(f)(2), and 882(a), as well as 28 U.S.C. §§ 1345 and 1355.

For purposes of this Order, Defendants consent to this Court’s subject-matter and

personal jurisdiction.

      5.     Venue is proper in the Eastern District of North Carolina under 21

U.S.C. §§ 842(c)(1)(A) and 843(f)(2), as well as 28 U.S.C. §§ 1395(a) and 1391(b)–(d).

For purposes of this Order, Defendants consent to venue in this judicial district.

      6.     Defendants agree to waive service of the Complaint and summons.

      7.     For purposes of this Order, Defendants agree that the Complaint states

claims upon which relief can be granted under the Controlled Substances Act.

      8.     To avoid the delay, uncertainty, inconvenience, and expense of

protracted litigation, the Parties have reached a settlement of this matter, including



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the terms set forth below. The Parties recognize, and by entry of this Order the Court

finds, that this Order is fair, reasonable, and in the public interest.

                                        ORDER

      In view of the foregoing, and based on the Parties’ consent, it is hereby

ORDERED, ADJUDGED, and DECREED as follows:

      1.     Judgment is hereby entered in favor of the United States and against

Defendants FARMVILLE DISCOUNT DRUG and CROCKER in the amount of

$600,000.00 (the “Civil Penalty Amount”). The following shall apply to the Civil

Penalty Amount:

             a. Defendants are jointly and severally liable for satisfaction of the Civil

                 Penalty Amount;

             b. None of the Civil Penalty Amount is restitution;

             c. The Civil Penalty Amount is a debt to the United States as defined

                 in the Federal Debt Collection Procedures Act, of 1990, 28 U.S.C. §§

                 3001-08, and nothing in this Order precludes the United States from

                 taking action to collect the debt as authorized by law; and

             d. The United States agrees to waive pre-judgment interest on the Civil

                 Penalty Amount.

      2.     Defendants FARMVILLE DISCOUNT DRUG and CROCKER are

hereby permanently restrained and enjoined under 21 U.S.C. §§ 843(f) and 882(a)

from, directly or indirectly, administering, dispensing, distributing, or possessing

with the intent to distribute, any controlled substance. For purposes of this Order,



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the terms “administer,” “controlled substance,” “dispense,” and “distribute” are

defined as set forth in 21 U.S.C. § 802.

      3.     Defendant FARMVILLE DISCOUNT DRUG shall within fifteen (15)

calendar days from the entry of this Order surrender its DEA Certificate of

Registration No. AF6883222 for cause by executing Form DEA-104, to be provided to

Defendant FARMVILLE DISCOUNT DRUG, through counsel, by the United States

Attorney’s Office for the Eastern District of North Carolina. Defendant FARMVILLE

DISCOUNT DRUG shall never apply for or seek renewal of a DEA registration,

whether on its own behalf or on behalf of any other corporate entity.

      4.     Defendant CROCKER shall never apply for or seek renewal of a

controlled-substances registration from DEA, whether on his own behalf or on behalf

of any other corporate entity.

      5.     Defendant CROCKER shall relinquish his license to practice pharmacy

from the North Carolina Board of Pharmacy and shall never apply for or seek the

renewal or reinstatement of a license or certificate to practice pharmacy anywhere in

the United States.

      6.     Each Party shall bear its own legal and other costs incurred in

connection with this matter.

      7.     Defendants warrant that they freely and voluntarily enter into this

Order without any duress or compulsion and upon the advice of legal counsel, and

the undersigned counsel represent and warrant that they are fully authorized to

execute this Order on behalf of the persons and entities indicated below.



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      8.     The United States District Court for the Eastern District of North

Carolina retains exclusive jurisdiction to enforce or modify this Order, and for the

purpose of granting such additional relief as may be necessary or appropriate.



      SO ORDERED, this 3rd day of February, 2020.



                                      ______________________________
                                      LOUISE W. FLANAGAN
                                      United States District Judge




                      [Signatures Appear On Following Page]




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